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                         UNITED S‘fATESrBAN-KRUPTQYCCQURT
                     FOR THE EASTERN DISTRICT OF FEN’N’SVLVANIA


      In re: ALSON ALSTON              :

                                       :     Case No. 18—16008
                            Debtor           Chapter 11




              ALSON ALSTON'S PLAN OF REORGANIZATION
                            DATED DECEMBER       3II   2016
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                                                   ARTICLE      I

                                                  SUMMARY

        This Plan of Reorganization (the ”Plan”) under chapter 11 of the Bankruptcy Code (the
”Code”) proposes to pay creditors of Alson Alston (the ”Debtor”) from the estate rental income.
There is sufficient income from these sources to pay fully for the Plan in accordance with the
relevant portions of the Code, as demonstrated below.

        The Plan calls for Debtor to use approximately half of the estate’s cash reserves in a
continuing real estate improvement process to create higher end office rentals at 2834 and
2836-38 W. Girard Avenue, Philadelphia, PA 19130. The core strategy is to create a shared
office space environment among the two buildings, which are conveniently adjacent to each
other, so can share telecommunications, materials, equipment, security and labor services.1
After having completed approximately 70% of this buildout and conversion, the Debtor now
demonstrates herein that the projected totai revenues of the estate’s rental operations,
including the new rentals, will easily sustain the estate, with the generation of $1,714,980 in
total income, whiIe servicing $1,663,285 in administrative expenses + creditor payments over
the five years of the Plan. All debts of the estate are met, including all past due and new tax
payments, with unsecured creditors receiving 35—55 cents on the dollar.

         Because this buildout will also support  traditional rental operation, Debtor could
                                                        a
quickly adapt to the traditional private ofﬁce rental model at any time, should the potentially
more lucrative shared office operation prove problematic. In the traditional model, the total
income generated from all of the estate’s rentals is $1,124,580 and there will be $1,223,413 in
administrative expenses + creditor payments over the five years of the Plan. All debts of the
estate are met, including all past due and new tax payments, with unsecured creditors receiving
far less than they would in the shared office space operation, at only 2 cents on the dollar.
Furthermore, that Plan completely exhausts the cash reserves, which we will estimate as
$50,000 at the start of the Plan ~ Month #1 currently projected to be Feb. 1 or March 1, 2019.




1
  The buildout is improving 2834 W. Girard Avenue from two stable efficiency apartments and one unusable office
into two efficiencies and four higher-end ofﬁces, with each office approximately 300-500 sf. Each office will
support 4 shared office space desks at an average of $400/desk rental fee per month. Alternatively, each office
wiH rent for approximately $1000/mo as a private office on the very busy commercial corridor in which they are
located. 2836 W. Girard Avenue is an unusual design whose size and features make it lacking as an efficient office
space for one tenant. Debtor’s buildout reclaims unused portions of the building, repairs the extensive plumbing
damage from multiple winters of frozen pipes, resurfaces all bathrooms and ﬂoors, moves out hundreds of items
residing there in semi-permanent storage and brings in internet components, computers, high-tech adjustable
desks and chairs to support 20 new office desk rentals, two private offices, a large conference room that can be
booked online by the hour. In its current renovated condition, Debtor estimates that he could easiiy rent 2836 for
$3000-4000/mo, perhaps up to SSOOO/mo, if given sufficient time for the market to find it. Both shared spaces
include complimentary spring water, standard teas, coffee and fruit. To reduce the labor costs that are included in
the projections in this statement, renters will be able to defray their costs by performing basic cleaning, shopping
and helpdesk tasks.
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            This Plan provides for eight classes of secured claims; one class of unsecured claims; one
    class of non—government priority claims; and no classes of equity security holders. This Plan
provides for the payment of administrative and priority claims. IRS priority claims will be paid
at 100% of principal during the Plan, subject only to proof of prior payment, proof of
inapplicable assessment or state court order. City of Philadelphia (”the City’s") priority claims
will be paid pursuant to any allowed amount, plus interest. Student loan claims will be paid at
100% of principal, with partial payments during the Plan and the balance paid after discharge.

        All creditors and equity security holders should refer to Articles I” through VI of this Plan
for information regarding the precise treatment of their claim. Your rights may be affected.
You should read these papers carefully and discuss them with your attorney, if you have one.
(If you do not have an attorney, you may wish to consult one.)

        There are two phases of the Plan, described in Section MD of the Disclosure Statement.
The following tables contain a summary of expenditures and income for each phase of the Plan
and a cumulative total of all Plan expenditures and income from Year #1 through Year 115.2




2
  Throughout the Plan, the amounts indicated as being paid to the creditors are not projections, they are
commitments under the Plan. The amounts indicated will be increased only by Court order. The amounts
indicated for a specific creditor wilI be decreased only by agreement with that creditor or by Court order; if
payments to creditors with unclassified claims or creditors in Classes 1-10 are so reduced, the amount ofthe
reduction will be distributed to the Class 10 creditors in a pro rata manner. With the last payment of the Plan, any
undistributed funds available for creditors will be distributed to Class 10 creditors.

                                                         2
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               Table 1. Summary of Plan by Phases: Shared Office Rental Operation.
                                                  Phase                     I                             II                  Plan Totals
                                                  Months               #1-12                            ((13-60
                    Categom                                      Income          Exgenses      Income          Exgenses

                    Cash Balance at Start      of Phase               $50 000                        $50 435
                    A.   Monthly Income and Admin Exgenses:
                    Real Estate:

                                                          Rent   $16,835                       $26,635
                                      Non«Mortgage Exp.                               $6,021                         $7,685

                                     Maint/Renov/Labor                                 $750                           $750

                                Mgmt. Fee Paid to Debtor                              $4.885                        $4,885

                    Persgnal:
                                    Outside Employment                50                            $0
                            Mgmt Fee Rec'd from Estate             $4,885                        $4.885

                                             Living Expenses                          $4.885                         $4,885
                                              Miscellaneous                              $0                             $0

                    Income Admin      Ex .    Totals              $21,720            $16,541    $31,520            $18,205
                    Net: Cash Available for Plan Pmts/Month                           $5,179                       $13,315



                    B.   Non-Admin Exgenses Paid Under Plan:
                             Regular Mortgage Payments                                $4,926                      $4,925.72       $295,543
                                    Priority tax payments                                 $0                          $173          58,326
                                   Secured tax payments                                   $0                         $1,435        $68,864
                           Non«Mortg Secured Creditors                                   $0                             $0              $0
                                US Trustee   Quarterly Fees                            $217                           $325         $18,200
                                     Unsecured creditors                                  $0                         $4,167

                           Total Monthly Plan Payments                                $5,142                       511.026        $590,933


                    C.   Plan: Ingome not Distributed each month                        536                          $2,289



                    Months in this Phase                                    12                            48



                    Maw
                    Total Admin Exgenses this Phase
                                                                                 S   202,020

                                                                                 $ 198,496
                                                                                                           $

                                                                                                           3
                                                                                                                  1,512,960

                                                                                                                   873,856
                                                                                                                              $1,714,980
                                                                                                                              $1,072,352
                    PIan Payments during this Phase                              5    61.709               S       529,224    5    590.933
                    Net Cash Flow during this Phase                              $      435                S        109,879   5    110,315


                    Cash Baiance at End of Phase                                 5    50,435               $       160,315


* We assume that there will be cash reserves of $50,000 at the start of the Plan, current|y anticipated to be
February or March 2019.
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              Table 2. Summary of Plan by Phases: Traditional Private Rental Operation.

                                        Phase                     I                                 II                   Plan Totals
                                        Months               # 1—12                               #13—60

        Categog                                        Income          Expenses          Income          Expenses

        Cash Balance at Start       of Phase               $50,000.00                          5174135,

        A.   Monthly Income and Admin Expenses:
        Real Estate:

                                               Rent     $14,835                           $14,835
                            Non—Mortgage Exp.                               $3,441                           $3,441

                           Maint/Renov/Labor                                 $750                              $750

                    Mgmt. Fee Paid to Debtor                                $4,885                           $4,885

        Personal:

                          Outside Employment                $0                                 $0
                Mgmt Fee Rec‘d from Estate               $4,885                            $4,885
                                Living Expenses                             $4,885                           $4,885

                                    Miscellaneous                              $0                                 $0

        Income Admin Ex         .   Totals              $19,720            $13,961        $19,720           $13,961
        Net: Cash Available for Plan Pmts/Month                             $5,759                           $5,759



        B.   Non-Admin Expenses Paid Under Plan:
                 Regular Mortgage Payments                                  $4,926                         $4,925.72         $295,543
                          Priority tax payments                                $0                              $173            $8,326
                         Secured tax payments                                   $0                           $1,435           $68,864
               Non—Mortg Secured Creditors                                     $0                                 $0               50
                    US   Trustee Qua rterly Fees                             5217                              $217           $13,000
                           Unsecured creditors                                 $0    ‘
                                                                                                                  $0

               Total Monthly Plan Payments                                  $5,142                           $6,751          $385,733


        C.   Plan: Income not Distributed each month                         $616                              {$992}



        Months in this Phase                                      12                                48



        Total Income this Phase                                        S   178,020                   S      945,550      5 1,124,580
        Total Admin Exgenses this Phase                                5   167,536                   5      670,144      S    837,680
        Plan Payments during this Phase                                $    61,709                   $      324,024      $    385,733
        Net Cash Flow during this Phase                                5     7,395                   S       {£17,609}   3    ($0,213)


        Cash Balance      at End of Phase                              S    57,395                   $         9,787


* We assume that there will be cash reserves of $50,000 at the start of the Plan, currently anticipated to be
February or March 2019.
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       The calculations of rental income and expenses in both rental scenarios rely upon
Debtor’s 25—years of knowledge and experience pricing and managing rentals. As well, Debtor
has obtained expert advice from a real estate agent who understand both markets. (S_e_e; Ex. A.)
For the Office Space Share operation, the following estimates and assumptions hold in Phase                                                               I


(Year #1 of the Plan) and Phase H (Years #2—5 of the Plan).

            Table 3. Year #1 Detailed Projections for the Office Space Share Operation.

                                                                                             Mortg        RE   Taxes (if    Insurance
                                                                             Non-mortg                                                       Other
        Cls       Address                                      Rents                         Exp.         not               (if not
                                                                             Exp.                                                            Exp
                                                                                        (PH)     escrowed) escrowed)
                 2 2825 W.   Girard Ave., Phila.                   $2,175       $450.47     $850          $0     $347                              $103
        N/A        2827 W. Girard Ave., Phila.                     $3,245       $763.82       $0        $371     $293                              $100
                   2834 W. Girard Ave., Phila. (2
                 3 efficiencies, does not include                  $1,115       $733.76        $1,079               $286              $347         $100
                  Shared Ofﬁce Space)1
                        Shared Ofﬁces #1—2 (4 desks
                                                           2       $3,200       $754.00                                                            $754
                                                   each)
                        Shared Ofﬁces #2-4 (4 desk:
                                                                        $0           $000                                                            $0
                                                   each)
                4 4904 Monument Rd., Phila.                            300          $75.00     $1,370                  $0               $0          $75
                5 3033 Baltz 51‘,    mm.“                                0           $0.00           $0                $0               $0           $0
                  :2836 W. Glrard Ave.,.Ph||a.     (no:                         $968.29        $1,627               $371              $347         5250
                  Including Shared Ofﬁce Space)
                   Shared Work Spaces #1—10 (4 sm,
                      4 med desks; 2 lg desks, 2 pvt               $6,800     $2,276.00                                                        $2,276
                                              offices)6

                     Shared Work Spaces #11-20 (4
                      sm, 4 med desks; 2 lg desks, 1                    $0           $0.00                                                           $0
                                             conf rm)7
                  TOTALS                                           $16,835    $6,021.34        $4,926              $1,028         $1,335       $3,658
                  Net Income (Rent~Mortg-Exps)                     $5,888



        Notes & Exglanations
        1
         2834 W. Girard Ave. -- Cramdown of Interest and Term only. Contract principal: $201,000, 30y, 5%
        2
            2834 W. Gira rd Ave.  Shared offices. 8 desks @ $400 each/mo
                                    ——




                  Labor Partial Contribution: 8 hrs/day * 1 day/week * $12/hr * 4.25 wks/mo.
                  Refreshments: 2 beverages/day/guest * $.20/cup * 30 d * 8 guests/d;
                  Additional Utilities and Misc. SZSO/mo
        3
            2834 W. Girard Ave. -- Shared offices. Assume, conservatively, no rentals for the first year.
        A
            3033 Baltz St. -- Debtor will surrender property to mortgagee within first 6 months of Plan.
        5
            2836—38 W. Girard Ave. -- Cra mdown       of $537,089 foreclosure judgment. Section 506 value $303,025, 30y, 5%
        6
            2836-38 W. Girard Ave. -- Shared offices #1-10. (4 5m dsk @ $400/ea, 4 med @ SSOO/ea;
                                                     2 lg                         *
                                                            SGOO/ea, 2 pvt offices $1,000/ea)
                                                                  @

                  Labor Partial Contribution: 8 hrs/day * 4 day/week * $12/hr * 4.25 wks/mo.
                  Refreshments: 2 beverages/day/guest * $.20/cup * 30 d * 12 guests/d;
                  Additional Utilities and Misc. SSOO/mo
        7
            2836-38 W. Girard Ave. -- —~ Shared offices. Assume, conservatively, no rentals forthe ﬁrst year.
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      Table 4. Years #2—5 Detailed Projections for the Office Space Share Operation.

                                                                                               . mortg
                                                                                                         Mortg         RE Taxes   (if Insurance
                                                                                                                                                0th er
          Cls         Address                                        Rents             2:"p.             Exp.          not            (if not
                                                                                                                                                     Ex p
                                                                                                         (PM)          escrowed)        escrowed)
                  2   2825 W. Girard Ave., Philak                           $2,175         $450.47              $850               $0        $347           $103

          N/A         2827 W. Girard Ave., Phi!a.                           $3,245         $763.82                $0          $371           $293           $100

                      2834 W. Girard Ave., Phila. (2
                  3 efﬁciencies, does         not include                   $1,115         $733.76         $1,079             $286           $347           $100
                      Shared Ofﬁce Space)1
                            Shared Ofﬁces #1-2 (4 desks
                                                                 2          $3,200         $754.00                                                          $754
                                                         each)
                            Shared Ofﬁces #2-4 (4 desks
                                                                 3          $3,200         $604.00                                                          $604
                                                         each)
                  4 4904 Monument Rd., Phila.                                    300           $75.00      $1,370                  $0          $0            $75
                  5 3033    Batu St., Phila.‘                                      0             $0.00            so               so          so             so
                      2836 W. Girard Ave, Ph‘la.
                                              '  ("C’st
                      .      .
                                                                                           $968.29         $1,627             $371           $347           $250
                      Including Shared Ofﬁce Space)
                      Shared Work Spaces #1-10 (4 5m,
                         4 med desks; 21g desks, 2 pvt                      $6,800       $2,276.00                                                     $2,276
                                                       ofﬁces)6

                         Shared Work Spaces £111.20 (4
                          sm, 4 med desks; 2 lg desks, 1                    $6,600       $1,060.00                                                     $1,060
                                                      conf rm)7
                      TOTALS                                                $26,635      $7,685.34         $4,926            $1,028         $1,335      $5,322
                      Net Incame (Rent-Mortg-Exps)                       $14,024



          Notes & Exglanations
          1
              2834 W. Girard Ave.      ~-   Cramdown of Interest and Term only. Contract principal: $201,000, 30y, 5%
              2834 W. Girard Ave. .. Shared offices #1‘2‘ 8 desks @ $400 each/mo
          Z



                    Labor Partial Contribution: 8 hrs/day * 1 day/week * $12/hr * 4,25 wks/mo.
                    Refreshments: 2 beverages/day/guest * $.20/cup * 30 d * 8 guests/d;
                      Additional Utilities and Misc. SZSO/mo
              2834 W. Girard Ave. .. Shared offices #3-4. Assume, fully rented for Years 2'5.
          3



                    Labor Partial Contribution: 8 hrs/day * 1 day/week * $12/hr * 4.25 wks/mo‘
                      Refreshments: 2 beverages/day/guest * $.20/cup * 30 d * 8 guests/d;
                      Additional Utilities and Misc. $100/mo
                      _N_oie_:These   remain conservative estimates because Debtor is not including income
                                                                     from   2   add'l smaH desks and assumes no growth in M0 #13-60.
          4
              3033 Baltz   S .-—   Debtor win surrender property to mortgagee within ﬁrst 6 months of Man
          5
              2836-38 W. Girard Ave.         -—
                                                  Cramdown of$537,089 foreclosure judgment Section 506 vaiue$303,0251 30y, 5%
          6
              283638 W. Girard Ave. -- Shared offices #1-10‘ (4 sm dsk @ $400/ea, 4 med @ SSOO/ea;
                                                      2 lg   5600/63, 2 pvt ofﬁces * $1,000/ea)
                                                                         @

                      Labor Partial Contribution: 8 hrs/day * 4 day/week * $12/hr * 4.25 wks/mo.
                      Refreshments:     2   beverages/day/guest * S‘ZO/cup * 30 d * 12 guests/d;
                      Additional Utilities and Misc. SSOO/mo
          7
              2836—38 W. Girard Ave. ~ Shared           offices #11-20. (4 sm dsk               @ SAOO/ea, 4 med @ SSOD/ea;
                                                                                 "‘
                                                                                    $2hrs/d *$30/hr)
                                                                     2 lg @ SGOO/ea, 1     conf rm
                      Labor Fania} Contribution: 8 hrs/day "                *       *
                                                                 2 day/week $12/hr 4.25 wks/mo.

                      Refreshments:     2
                                                                          *    *
                                            beverages/day/guest * $.20/cup 30 d 20 guests/d;
                      Additional Utilities and Misc. $100/mo
                      Note: These remain conservative estimates because Debtor is not induding income
                                                      from hourly, daily or wkly renters 84 assumes no growth in M0 #13-60.
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Similarly the calculations below hold for the traditional private office rental operation.

        Table 5. Years #1-5 Detailed Projections for the Traditional Private Office Operation.

                                                                           Mortg         RE   Taxes (if    Insurance
                                                                l:;:—mortg Exp.          not               (if not
Cls         Address                               Rents                                                                     2:2“
                                                                             (PM)        escrowed)         escrowed)
        2 2825 W. Girard Ave., Phila.                 $2,175       $450.47      $850                  $0             $347      $103

N/A         2827 W. Girard Ave., Phila.               $3,245       $763.82          $0             $371              $293      $100

          2834 W. Girard Ave., Phila. (2
        3 efficiencies, 4 traditional, private        $5,115       $933.76     $1,079              $286              $347      $300
            ofﬁces)1

        4 4904 Monument Rd., Phila.                       300       $75.00     $1,370                 $0               $0       $75
        5 3033 Baltz St., Phila.2                           0        $0.00          so                so               so          so
            2836 W. Girard Ave., Phila.
        6   (renting the entire building to         $4,000.00    $1,218.29     $1,627              $371              $347      $500
            one tenant)3
            TOTALS                                    $14,835    $3,441.34     $4,926             $1,028         $1,335       $1,078
            Net Income (Rent-Mortg—Exps)              $6,468



Notes & Explanations
1
    2834 W. Girard Ave. -- Cramdown of Interest and Term on‘y. Contract principai: $201,000, 30y, 5%
            2   efficiencies and 4traditional, private offices @ SIOOO/mo
2
    3033 Baltz St. -- Debtor will surrender property to mortgagee within first 6 months of Plan.
3
    283688 W. Gira rd Ave.     -—
                                    Cramdown of $537,089 foreclosure judgment. Section 506 value $303,025, 30y, 5%
            1   commercial rental, conservatively priced at $4,000/mo
The rental estimates for all units are conservative because they assume no growth throughout the Plan.
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                                         ARTICLE II
                      CLASSIFlCATION OF CLAIMS AND INTERESTS

  2.01      Class 1        All allowed claims entitled to priority under § 507 of the Code
                           (except administrative expense claims under § 507(a)(2), [”gap”
                           period claims in an involuntary case under § 507(a)(3),] and
                           priority tax claims under § 507(a)(8)). Estimate of allowed
                           claim: $0.00.
  2.02      Class 2        Secured Claim Unimpaired, to the extent allowed as a secured
                           claim under § 506 of the Code, Shell Point Mortgage Services
                           re: 2825 W. Girard Avenue, Philadelphia, PA.
  2.03      Class 3        Secured Claim Impaired, as to Interest and Term (not Principal)
                           to the extent allowed as a secured claim under § 506 of the
                           Code, Bayview Loan Servicing re: 2834 W. Girard Ave.,
                           Philadelphia, PA.
  2.04      Class 4
                           claim under § 506 of the Code,  chen
                           Secured Claim Unimpaired, to the extent allowed as a secured

                           4904 Monument Road, Philadelphia, PA.
                                                                    for Deutsche Bank re:

  2.05      Class 5        Secured Claim Impaired, as to Principal, Interest and Term,

                           allowed as a secured claim under § 506 of the Code,
                           Wells Fargo re: 3033 Baltz Street, Philadelphia, PA.
                                                                                 chen
                           valuation pursuant to an appraisal and CMA, to the extent
                                                                                         for

  2.06      Class 6        Secured Claim Impaired, as to Principal, Interest and Term,
                           valuation pursuant to a CMA and Debtor’s property
                           management experience, to the extent allowed as a secured
                           claim under § 506 of the Code, Fay Servicing Corporation for
                           Citibank re: 2836-38 W. Girard Avenue, Philadelphia, PA.
  2.07      Class 7        Secured Claim Unimpaired, to the extent allowed as a secured
                           claim under § 506 of the Code, based on claim of IRS (entire
                           claim will be paid).
  2.08      Class 8        Secured Claim Impaired, to the extent allowed as a secured
                           claim under § 506 of the Code, based on claims of the City of
                           Philadelphia.
  2.09      Class 9        Secured Claim Unimpaired, to the extent allowed as a secured
                           claim under § 506 of the Code, based on claims of Other Taxing
                           Entity/Entities.
  2.10      Class 10       Unsecured Claim Impaired, all Unsecured claims allowed under
                           § 502 of the Code.
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                                            ARTICLE III
                  TREATMENT OF ADMINISTRATIVE EXPENSE CLAIMS,
                    U.S. TRUSTEES FEES, AND PRIORITY TAX CLAIMS

        3.01 Unclassified Claims. Under section §1123(a)(1), administrative expense claims,
[”gap" period claims in an involuntary case allowed under  § 502(f) of the Code,] and priority tax
claims are not in classes.

         3.02 Administrative Expense Claims. Each holder of an administrative expense claim
allowed under § 503 of the Code [, and a "gap” claim in an involuntary case allowed under §
502(f) of the Code,] will be paid in fun on the effective date of this Plan (as defined in Article
VII), in cash, or upon such other terms as may be agreed upon by the holder of the claim and
the Debtor.

       3.03 Priority Tax Claims. Each holder of a priority tax cIaim will be paid {consistent with §
1129(a)(9)(C) of the Code].

        3.04 United States Trustee Fees. All fees required to be paid by 28 U.S.C. §1930(a)(6)
(U.S. Trustee Fees) will accrue and be timely paid until the case is closed, dismissed, or
converted to another chapter of the Code. Any U.S. Trustee Fees owed on or before the
effective date of this Plan will be paid on the effective date.

                                            ARTICLE IV
              TREATMENT OF CLAIMS AND INTERESTS UNDER THE PLAN

        4.01 Claims and interests shall be treated under this Plan as described in Section ”LC of
the Disclosure Statement, with Class 1 Priority Claims being paid in full, scheduled throughout
the duration of the plan, beginning with the later ofthe effective date of this Plan as defined in
Article VHI below, or the date on which such claim is allowed by a final nonappealable order.

                                            ARTICLE V
                     ALLOWANCE AND DISALLOWANCE OF CLAIMS

         5.01 Disputed Claim. A disputed claim is a claim that has not been allowed or disallowed
[by a final non—appealable order], and as to which either: (i) a proof of claim has been filed or
deemed filed, and the Debtor or another party in interest has filed or will file an objection; or
(ii) no proof of claim has been filed, and the Debtor has scheduled such claim as disputed,
contingent, or unliquidated.

        5.02 Delay of Distribution on a Disputed Claim. No distribution will be made on account
of a disputed claim unless such claim is allowed [by a final non~appealable order].
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        5.03 Settlement of Disputed Claims. The Debtor will have the power and authority to
settle and compromise a disputed claim with court approval and compliance with Rule 9019 of
the Federal Rules of Bankruptcy Procedure.

                                              ARTICLE VI
          PROVISIONS FOR EXECUTORY CONTRACTS AND UNEXPIRED LEASES

          6.01 Assumed Executory Contracts and Unexpired Leases.

          (a) The Debtor assumes the following executory contracts and/or unexpired leases
          effective upon the [Insert ”effective date of this Plan as provided in Article VII,” ”the
          date of the entry of the order confirming this Plan,” or other applicable date]:

          NONE


          (b) The Debtor will be conclusively deemed to have rejected all executory contracts
          and/or unexpired leases not expressly assumed under section 6.01(a) above, or before
          the date ofthe order confirming this Plan, upon the [Insert ”effective date of this Plan,”
          “the date of the entry of the order confirming this Plan," or other applicable date]. A
          proof of a claim arising from the rejection of an executory contract or unexpired lease
          under this section must be filed no later than                (___) days after the date of
          the order confirming this Plan.

                                             ARTICLE VII
                        MEANS FOR IMPLEMENTATION OF THE PLAN

        For the claims falling into Class 1, such claims shall be allowed in full on the Effective
Date only as to their principal amount, unless a statute requires otherwise. Commencing with
the thirteenth month following the Effective Date, the Reorganized Debtor shall make
payments for a continuing period of 48 months. Thereafter, the Reorganized Debtor shall have
the right to refinance the outstanding balance of each debt on then applicable terms at then
current interest rates or continue making payments postdischarge under terms identical to the
prevdischarge terms.

        For the claims falling into Classes 2 and 4, such claims shail be allowed in full on the
Effective Date and their contractual principal and interest payments will be made in all phases
of the Plan, in addition to all arrears being satisfied with the completion of the Plan. After the
Plan, the Reorganized Debtor shall have the right to refinance the outstanding balance of each
loan with a lender other than the mortgagee -— on then applicable terms at then current
     ——




interest rates or continue making payments postudischarge under terms identical to the pre—
discharge terms.




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                 For the claims falling into Classes 3, 5 and 6, such claims shall be allowed only as
to their principal amount and to the limits of the equity in the respective Properties. The
Reorganized Debtor will pay the principal equal to the value of the subject property on the
Effective Date under Section 506(a)(1) and will seek a cramdown of interest to 5%, amortized
over 30 years, with the new term being 30 years, and make the required monthly payments
throughout all phases of the Plan. After the Plan, the Reorganized Debtor shall have the right
                                                      -
to refinance the outstanding balance of each loan with a lender other than the mortgagee           -
on then applicable terms at then current interest rates or continue making payments post—
discharge under terms identical to the pre-discharge terms. For Class 5, Reorganized Debtor
will sell or deed back to mortgagee during the first six months of the Plan.

        For the claims falling into Classes 7, 8 and 9, such secured tax claims shall be allowed
only as to the limits of the equity in the bankruptcy estate. (Any balance of the claim in excess
of estate's equity shall become unsecured and a priority tax claim.) Reorganized Debtor will
pay statutory interest under the Plan. Commencing with the thirteenth month following the
Effective Date, the Reorganized Debtor shall make regular payments (likely sufficient to satisfy
the balance during the Plan) against the secured claim for a continuing period of 48 months.
Thereafter, the Reorganized Debtor shall have the right to refinance the outstanding balance of
each tax lien, if any, or continue making payments post—discharge until the balance of the claim
is satisfied.


        For the claims falling into Class 8, such secured tax claims shall be paid pursuant to the
resolution of any disputed claim or, if available, a stipulation signed by Alston and the City of
Philadelphia, and approved by the Court, subject only to future state—court—ordered reductions
(no refunds will be given). Reorganized Debtor will pay statutory interest under the Plan.
Commencing with the thirteenth month following the Effective Date, the Reorganized Debtor
shall make regular payments against the secured claim for a continuing period of 48 months.
Thereafter, the Reorganized Debtor shall have the right to refinance any outstanding balance of
each tax lien or continue making payments post-discharge until the balance ofthe claim is
satisfied.

        For the claims falling into Class 10, the unsecured debt will be paid at 35-55%, but
possibly less, depending on the disposition ofobjections to claims, during the 13th thru 60th
months of the Plan. (For the traditional ofﬁce rental operation, unsecured creditors will receive
2 cents on the dollar).


        The Debtor will make nominal payments to his student loans through the Plan, as part
of the unsecured debt servicing. These loans are not dischargeable, and the creditor will not be
impaired.

       The Debtor will seek to discharge all allowed Priority Tax Claims, not owed to the City of
Philadelphia, that may be discharged pursuant to sections 727 and1141 of the Code.




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        If any impaired class of claims entitled to vote shall not accept the Plan by the
requisite majority provided in section 1126(c) of the Code, the Debtor reserves the right to
amend the Plan, reinstating the debts under Section 1124(2) or undertaking to have the Court
confirm the Plan under section 1129(b) of the Code.

        After confirmation and within thirty days after the end of each calendar quarter, the
reorganized Debtor shall file with the court and serve on the UST a quarterly financial report for
each calendar quarter (or portion thereof) during which the case remains open, in a format
prescribed by the UST and provided to the Debtor by the UST.

                                         ARTICLE VIII
                                   GENERAL PROVISIONS

        8.01 Definitions and Rules of Construction. The definitions and rules of construction set
forth in §§ 101 and 102 of the Code shall appiy when terms defined or construed in the Code
are used in this Plan, and they are supplemented by the following definitions:
    0   Administrative Expense means any right to payment constituting a cost or expense of
        administration of the Reorganization Case that is Allowed under sections 503(b),
        507(a)(1), and 507(b) of the Bankruptcy Code, including, without limitation, (a) any
        actual and necessary costs and expenses of preserving the Debtor's Estate, (b) any
        actual and necessary costs and expenses of operating the Debtor's business, (c) any
        indebtedness or obligations incurred or assumed by the Debtor in Possession during the
        Reorganization Case, and (d) any compensation for professional services rendered and
        reimbursement of expenses incurred, to the extent Allowed by Final Order under
        sections 330 or 503 of the Bankruptcy Code.
    0   Allowed means (i) with reference to any Claim, (a) any Claim against the Debtor, which
        has been listed by the Debtor in its Schedules (as such Schedules may be amended by
        the Debtor from time to time in accordance with Bankruptcy Rule 1007) as liquidated in
        amount and not disputed or contingent and for which no contrary proof of Claim has
        been filed, (b) any Ciaim as to which the liability of the Debtor and the amount thereof
        are determined by a Final Order, or (c) any Claim against the Debtor allowed pursuant to
        the Plan, and (ii) with reference to any Claim or Administrative Expense, (a) any Claim or
        Administrative Expense that is the subject of a timely filed proof of Claim or request for
        an Administrative Expense as to which no objection to allowance or request for
        estimation has been interposed on or before the applicable period of limitation fixed by
        the Plan or otherwise ordered by the Bankruptcy Court, or as to which any objection or
        request for estimation has been determined by a Final Order to the extent such
        objection is determined in favor of the respective holder, (b) any Claim or
        Administrative Expense expressly allowed under the Plan, or (c) any Claim or
        Administrative Expense allowed under section 502, 503, or 1111 ofthe Bankruptcy
        Code. Unless otherwise specified in the Plan or ordered by the Bankruptcy Court,
        "Allowed Claim" or ”Allowed Administrative Expense" shall not include interest on such
        Claim or Administrative Expense from and after the Petition Date.


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     Alson Alston or Alston refers to the Debtor and Debtor—in-Possession in this case.
      Bankruptcy Code means title 11 of the United States Code, as amended from time to
     time, as applicable to this Reorganization Case.
     Bankruptcy Court means the United States Bankruptcy Court for the Eastern District of
     Pennsylvania, or any other court of the United States having jurisdiction over the
     Reorganization Case.
     Bankruptcy Rules means the Federal Rules of Bankruptcy Procedure as promulgated by
     the United States Supreme Court under section 2075, title 28, of the United States
     Code, as amended from time to time, as applicable to this Reorganization Case, and any
     Local Rules of the Bankruptcy Court.
     Business Day means any day other than a Saturday, a Sunday, or any other day on which
     banking institutions in New York, New York are required or authorized to close by law or
     executive order.
     Cash means legal tender of the United States of America.
     Claim has the meaning set forth in section 101 (5) of the Bankruptcy Code.
     Confirmation Date means the date on which the Clerk of the Bankruptcy Court enters
     the Confirmation Order on the docket of the Reorganization Case.
     Confirmation Hearing means the hearing conducted by the Bankruptcy Court pursuant
     to section 1128(3) of the Bankruptcy Code to consider confirmation of the Plan, as such
     hearing may be adjourned or continued from time to time.
     Confirmation Order means the order or orders of the Bankruptcy Court confirming the
      Plan.
     Cure means the payment of Cash by the Debtor, or the distribution of other property (as
     the parties may agree or the Bankruptcy Court may order), as necessary to (i) cure a
     default by the Debtor under an executory contract or unexpired lease of the Debtor and
     (ii) permit the Debtor to assume such executory contract or unexpired lease under
     section 365 ofthe Bankruptcy Code.
     Debtor means Alson Alston, as debtor in the Reorganization Case.
     Debtor in Possession means the Debtor in his capacity as debtor in possession in the
     Reorganization Case under sections 1107(a) and 1108 of the Bankruptcy Code.
     Disclosure Statement means that certain disclosure statement relating to the Plan,
     including, without limitation, all exhibits and schedules thereto, as the same may be
     amended, supplemented or otherwise modified from time to time, as approved by the
     Bankruptcy Court pursuant to section 1125 of the Bankruptcy Code.
     Disputed means, with reference to any Claim or Administrative Expense, any such Claim
     or Administrative Expense (a) to the extent neither Allowed nor disallowed under the
     Plan or a Final Order nor deemed Allowed under section 502, 503, or 1111 of the
     Bankruptcy Code, or (b) which has been or hereafter is listed by the Debtor on its
     Schedules as unliquidated, disputed, or contingent, and which has not been resolved by
     written agreement of the parties or a Final Order, or (c) as to which the Debtor or any
     other party in interest has interposed a timely objection and/or request for estimation
     in accordance with the Bankruptcy Code and the Bankruptcy Rules, which objection or
     request for estimation has not been withdrawn or determined by a Final Order, or (d)

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      which arises in connection with an executory contract which, as of the Confirmation
      Date, has not yet been assumed by the Debtor, and therefore such contract is deemed
      rejected pursuant to Section 6.01 of the Plan.
      Effective Date see Section 8.02 of the Plan.
                    ——




      Estate means the estate of the Debtor as created under section 541 of the Bankruptcy
      Code.
      Face Amount means      either (i) the full stated amount c|aimed by the holder of such
      Claim in any proof of Claim filed by the bar date established by the Bankruptcy Court or
      otherwise deemed timely filed under applicable law, if the proof of Claim specifies only
      a liquidated amount; or (ii) the amount of the Claim (a) acknowledged by the Debtor or
      Reorganized Debtor in any objection to such Claim or in the Schedules as an undisputed,
      non-contingent and liquidated Claim, (b) estimated by the Bankruptcy Court pursuant to
      section 502(c) ofthe Bankruptcy Code, or (c) proposed by the Debtor or established by
      the Reorganized Debtor following the Effective Date, if no proof of Claim has been filed
      by the bar date or has otherwise been deemed timely filed under applicable law or if the
      proof of Claim specifies an unliquidated amount.
      Federal Judgment Rate means the rate equal to the weekly average one-year constant
      maturity Treasury yield, as published by the Board of Governors ofthe Federal Reserve
                                                                                      .

      System for the calendar week preceding the Effective Date and identified at
      http://www.federalreserve.gov/releases/h lS/current/.
      Final Order means an order or judgment of a court of competent jurisdiction, which has
      been entered on the docket maintained by the clerk of such court, and which has not
      been reversed, vacated, or stayed and as to which (a) the time to appeal, petition for
     certiorari, or move for a new trial, reargument, or rehearing has expired and as to which
      no appeal, petition for certiorari, or other proceedings for a new trial, reargument, or
     rehearing shall then be pending or (b) if an appeal, writ of certiorari, new trial,
      reargument, or rehearing thereof has been sought, such order orjudgment shall have
     been affirmed by the highest court to which such order was appealed, or certiorari shall
     have been denied or a new trial, reargument, or rehearing shall have been denied or
     resulted in no modification of such order, and the time to take any further appeal,
     petition for certiorari, or move for a new trial, reargument, or rehearing shall have
     expired; provided, however, that the possibility that a motion under Rule 60 of the
     Federal Rules of Civil Procedure, or any analogous rule under the Bankruptcy Rules, may
     be filed relating to such order, shall not cause such order not to be a Final Order.
     General Unsecured Claim means any Claim that arose or accrued prior to the Petition
     Date that is not an Administrative Expense, Priority Tax Claim, Priority Non-Tax Claim, or
     Secured Claim, but including, without limitation, trade claims and other Claims arising
     from the rejection of an unexpired lease or executory contract pursuant to the Plan or
     other Final Order of the Bankruptcy Court.
     Lien has the meaning set forth in section 101(37) ofthe Bankruptcy Code.
     Non-Debtor Party means either (a) the holders of Allowed Administrative Expense
     claims, Allowed Priority Non~Tax Claims, Allowed Secured Claims, Allowed General
     Unsecured Claims, and (b) each of their respective Representatives.


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        Person means an individual, partnership, corporation, limited liability company,
       cooperative, trust, unincorporated organization, association, joint venture, government
       or agency or political subdivision thereof, or any other form of legal entity.
        Petition Date means September 11, 2018, the date on which the Debtor commenced
        his Chapter 11 Case.
        Plan means this Plan of Reorganization, including, without limitation, the exhibits and
       schedules hereto, as the same may be amended or modified from time to time in
       accordance with the provisions ofthe Bankruptcy Code and the terms hereof.
        Priority Tax Claim means any unsecured Claim of a governmental unit of the kind
       entitled to priority in payment as specified in sections 502(i) and 507(a)(8) of the
       Bankruptcy Code.
        Property means each of those certain parcels of commercial real estate listed in the
       Debtor’s schedules.
        Reorganization Case means the case commenced by the Debtor in the Bankruptcy Court
       on the Petition Date under chapter 11 of the Bankruptcy Code.
       Reorganized Debtor means Alson Alston.
       Representatives means, with respect to any particular Person or entity, such Person or
       entity’s officers, directors, employees, members, partners, principals, managers,
       officers, directors, agents, employees, advisors (including any attorneys, financial
       advisors, investment bankers, and other professionals retained by such Persons or
       entities), affiliates, and representatives.
       Schedules means the schedules of assets and liabilities and the statements of financial
       affairs filed by the Debtor under section 521 ofthe Bankruptcy Code, Bankruptcy Rule
       1007, and the Official Bankruptcy Forms, as such schedules and statements have been
       or maybe supplemented or amended through the Confirmation Date pursuant to
       Bankruptcy Rule 1007.
       Secured Claim means any secured Claim arising pre—petition.
       Secured Creditor means any creditor hoIding a Secured Claim in this case.
       Tax Code means the Internal Revenue Code of 1986, as amended.
       U.S. Trustee means the United States Trustee appointed under section 581, Title 28 of
       the United States Code to serve in the Eastern District of
        Pennsylvania.

         8.02 Effective Date of Plan. The effective date of this Plan is the first business day
following the date that is fourteen days after the entry of the order of confirmation. if,
however, a stay of the confirmation order is in effect on that date, the effective date will be the
first business day after the date on which the stay of the confirmation order expires or is
otherwise terminated.

        8.03 Severability. lfany provision in this Plan is determined to be unenforceable, the
determination will in no way limit or affect the enforceability and operative effect of any other
provision ofthis Plan.



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        8.04 Binding Effect. The rights and obligations    ofany entity named or referred to in this
Plan will be binding upon, and will inure to the benefit   of the successors or assigns of such
entity.

       8.05 Captions. The headings contained in this Plan are for convenience of reference
only and do not affect the meaning or interpretation of this Plan.

        8.06 Controlling Effect. Unless a rule of law or procedure is supplied by federal law
(including the Code or the Federal Rules of Bankruptcy Procedure), the laws of the State of
Pennsylvania govern this Plan and any agreements, documents, and instruments executed in
connection with this Plan, except as otherwise provided in this Plan.

                                           ARTICLE IX
                                           DISCHARGE

        9.01. Discharge. Confirmation of this Plan does not discharge any debt provided for in
this Plan until the court grants a discharge on completion of all payments under this Plan, or as
otherwise provided in § 1141(d)(5) of the Code. The Debtor will not be discharged from any
debt excepted from discharge under § 523 of the Code, except as provided in Rule 4007(c) of
the Federal Rules of Bankruptcy Procedure.

                                           ARTICLE X
                                     OTHER PROVISIONS

Please see attached sheets, as relevant.




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                         UNITED STATES BANKRUPTCY COURT
                     FOR THE EASTERN DlSTRlCT OF PENNSYLVANIA


      ln re: ALSON ALSTON
                                              Case No. 18—16008
                            Debtor      :     Chapter 11




            ALSON ALSTON’S DISCLOSURE STATEMENT AND
                    PLAN OF REORGANIZATION
                     DATED DECEMBER 3I 2016



                                      EXHIBITS
